                               REVERSE the order granting the motion to dismiss AND
                   REMAND this matter to the district court for further proceedings
                   consistent with this order.'



                                                                                              J.
                                                                Hardesty


                                                                                              J.
                                                                Douglas



                   CHERRY, J., concurring:
                               For the reasons stated in the SFR Investments Pool 1, LLC v.
                   US. Bank, N.A.,    130 Nev. , 334 P.3d 408 (2014), dissent, I disagree
                   that respondent Nationstar lost its lien priority by virtue of the
                   homeowners association's nonjudicial foreclosure sale. I recognize,
                   however, that SFR Investments is now the controlling law and, thusly,
                   concur in the disposition of this appeal.


                                                                     Chut.
                                                                Cherry



                   cc:   Hon. Stefany, Miley, District Judge
                         Law Offices of Michael F. Bohn, Ltd.
                         The Castle Law. Group, LLP
                         Eighth District Court Clerk


                         'The injunction imposed by our October 18, 2013, order is vacated.


SUPREME COURT
        OF
     NEVADA
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